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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
JASON CAMACHO AND ON BEHALF OF ALL :                       ECF CASE
                                       :
OTHER PERSONS SIMILARLY SITUATED,
                                       :
                                       :                   No.: 18cv10694
                Plaintiffs,
                                       :
                                       :                   CLASS ACTION COMPLAINT
                   v.
                                       :
                                       :                   JURY TRIAL DEMANDED
VANDERBILT UNIVERSITY,
                                       :
                                       :
               Defendant.
                                       :
                                       :
------------------------------------x
                            INTRODUCTION

       1.      Plaintiff JASON CAMACHO, on behalf of himself and others similarly

situated, asserts the following claims against Defendant VANDERBILT UNIVERSITY,

as follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the terms

“blind” or “visually-impaired” to refer to all people with visual impairments who meet the

legal definition of blindness in that they have a visual acuity with correction of less than or

equal to 20 x 200. Some blind people who meet this definition have limited vision. Others

have no vision.

       3.      Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind, and

according to the American Foundation for the Blind’s 2015 report, approximately 400,000

visually impaired persons live in the State of New York.




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       4.      Plaintiff   brings   this   civil    rights   action   against   VANDERBILT

UNIVERSITY, (“Defendant”) for its failure to design, construct, maintain, and operate its

website to be fully accessible to and independently usable by Plaintiff and other blind or

visually-impaired people. Defendant’s denial of full and equal access to its website, and

therefore denial of its products and services offered thereby and in conjunction with its

physical locations, is a violation of Plaintiff’s rights under the Americans with Disabilities

Act (“ADA”) and Section 504 of the Rehabilitation Act of 1973 (“RA”).

       5.      Because Defendant’s website, WWW.VANDERBILT.EDU (the “Website”

or “Defendant’s website”), is not equally accessible to blind and visually-impaired

consumers, it violates the ADA and the RA. Plaintiff seeks a permanent injunction to cause

a change in Defendant’s corporate policies, practices, and procedures so that Defendant’s

website will become and remain accessible to blind and visually-impaired consumers.

                              JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, et seq., 28 U.S.C. § 1332 and Section 504 of the Rehabilitation Act of

1973, 29 U.S.C. §794.

       7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”)

and New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) claims.

       8.      Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of



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business in this District, Defendant is subject to personal jurisdiction in this District, and a

substantial portion of the conduct complained of herein occurred in this District.

          9.    Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of New

York that caused injury, and violated rights the ADA and RA prescribes to Plaintiff and to

other blind and other visually impaired-consumers. A substantial part of the acts and

omissions giving rise to Plaintiff’s claims occurred in this District: on separate occasions,

Plaintiff has been denied the full use and enjoyment of the facilities, goods, and services

of Defendant’s Website while attempting to access Defendant’s website from his home in

New York after attending the Defendant’s exhibit in New York, NY. VANDERBILT’S

main campus is located in Nashville, Tennessee. These access barriers that Plaintiff

encountered have caused a denial of Plaintiff’s full and equal access in the past, and now

deter Plaintiff on a regular basis from visiting Defendant’s school. This includes, Plaintiff

attempting to obtain information about Defendant’s school as hereinafter set forth in more

detail.

          10.   Defendant is a university, college or other institution of higher learning.

Defendant regularly and systematically markets and solicits to prospective students in order

to encourage them to apply to and ultimately register and attend Defendant’s school and

thereby generate revenue for the Defendant. Defendant’s marketing campaign consists of

inter alia sending Defendant’s representatives (usually affiliated with Defendant’s Office

of Admissions) to various functions attended by prospective students such as high schools

and college fairs or exhibits.




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       11.     Defendant regularly and systematically markets and solicits to prospective

students in New York City and the rest of New York State. Upon information and belief, a

substantial number of students attending Defendant’s school are from New York State.

       12.     The Javits Convention Center, located in New York, NY (“Javits”) is a large

and well known place of exhibition or entertainment, or convention center or place of

public gathering and is a place of public accommodations within the definitions set forth

in 42 U.S.C. 12181 (7)(c) and (d).

       13.     The National Association of College Admissions Counseling (“NACAC”)

has, for a number of years, sponsored college fairs or exhibits at Javits at least annually

and continues to do so.

       14.     Defendant is a member institution of NACAC.

       15.     On Nov. 5, 2018, NACAC sponsored a college fair or exhibit at Javits at

which the Defendant set up and maintained a booth with sales or admissions representatives

of the Defendant in order to market and solicit prospective students from the New York

City metropolitan area and the rest of New York State.

       16.     The Defendant’s actions of marketing and soliciting prospective students in

New York State by various means including, but not limited to, exhibiting at college fairs

in New York City and utilizing their website in conjunction therewith constitutes doing

business in New York and subjects the Defendant to personal jurisdiction in this District.

See, South Dakota v. Wayfair, 585 U.S. __, (6/21/18).

       17.     This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                     THE PARTIES



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       18.     Plaintiff JASON CAMACHO, at all relevant times, is a resident of

Brooklyn, New York. Plaintiff is a blind, visually-impaired handicapped person and a

member of a protected class of individuals under the ADA, 42 U.S.C. § 12102(1)-(2), and

the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., under the

RA,    29 U.S.C. § 701 et seq. and the regulations implementing the RA set forth at 34

C.F.R. §104 et seq., and the NYSHRL.

       19.     Upon information and belief, Defendant is and was, at all relevant times

herein, chartered or incorporated by or licensed pursuant to the Education and/or Business

Corporation laws of the state of Tennessee. Defendant operates VANDERBILT

UNIVERSITY,         as   well    as    the    VANDERBILT          UNIVERSITY,         website

(WWW.VANDERBILT.EDU) and advertises, markets, distributes, and/or provides

courses of learning in the State of New York and throughout the United States.

       20.     This school and its exhibits at Javits constitute places of public

accommodation. Defendant’s school provides to the public important educational services.

Defendant’s Website provides consumers with access to an array of services including

information about: school location and hours, curriculum and programs of instruction,

academic calendars, course and admission prerequisites, cost of tuition, available financial

aid, career services, accreditation, faculty, campus security, transfer credits, textbooks, and

other vital information needed by prospective students in order to make informed decisions

about the Defendant’s school.

       21.     Defendant’s school is a public accommodation within the definition of Title

III of the ADA, 42 U.S.C. § 12181(7)(j). Defendant’s Website is a service, privilege, or




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advantage that is heavily integrated with Defendant’s physical school and its exhibits at

college fairs and operates as a gateway thereto.

                               NATURE OF ACTION

       22.       The Internet has become a significant source of information, a portal, and a

tool for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired

persons alike.

       23.       In today’s tech-savvy world, blind and visually-impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software. Screen-

reading software is currently the only method a blind or visually-impaired person may

independently access the internet. Unless websites are designed to be read by screen-

reading software, blind and visually-impaired persons are unable to fully access websites,

and the information, products, and services contained thereon. An accessibility notice is

put on a website by the creator thereof to showcase that the website is working diligently

to create a better experience for low-vision or blind users.

       24.       Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer.



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       25.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same content

available to sighted users.

       26.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually-impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure their websites are accessible. Many Courts have also established WCAG

2.0 as the standard guideline for accessibility.

       27.     Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually impaired persons

include, but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and

navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted

persons are not provided;

               e.      Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;




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                f.      Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;

                i.      The purpose of each link cannot be determined from the link text

alone or from the link text and its programmatically determined link context;

                j.      One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;

                k.      The default human language of each web page cannot be

programmatically determined;

                l.      When a component receives focus, it may initiate a change in

context;

                m.      Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised before using

the component;

                n.      Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that he or he is not a

robot;

                o.      In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to

their specifications, elements may contain duplicate attributes and/or any IDs are not

unique;



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               p.       Inaccessible Portable Document Format (PDFs); and,

               q.       The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically

set; and/or notification of changes to these items is not available to user agents, including

assistive technology.

                             STATEMENT OF FACTS

                        Defendant’s Barriers on Its Website

       28.     Defendant offers the commercial website, WWW.VANDERBILT.EDU, to

the public. The website offers features which should allow all consumers to access the

services which Defendant offers in connection with their physical locations. The services

offered by Defendant include, but are not limited to the following, which allow consumers

to find information about: school location and hours, curriculum and programs of

instruction, academic calendars, course and admission prerequisites, cost of tuition,

available financial aid, career services, accreditation, faculty, campus security, transfer

credits, textbooks, and other vital information needed by prospective students in order to

make an informed decision about the Defendant’s school.

       29.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s website,

and to therefore specifically deny the services that are offered and are heavily integrated

with Defendant’s school and exhibits at college fairs. Due to Defendant’s failure and

refusal to remove access barriers to its website, Plaintiff and visually-impaired persons

have been and are still being denied equal access to Defendant’s school and the numerous

services and benefits offered to the public through the Website.



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        30.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website on separate occasions using the JAWS screen-reader.

        31.     Plaintiff, Jason Camacho, attended the NACAC college fair at Javits on

Nov. 5, 2018 in order to obtain information from the college exhibitors presenting and

marketing at the fair including the Defendant’s school.

        32.     Soon after attending the Javits fair, Mr. Camacho attempted to access the

Defendant’s website in order to obtain additional information about the Defendant’s school

but was thwarted in his efforts to do so due to the inaccessibility of the Defendant’s website

as set forth herein.

        33.     During Plaintiff’s visits to the Website, Plaintiff encountered multiple

access barriers that denied Plaintiff full and equal access to the facilities and services

offered to the public and made available to the public; and that denied Plaintiff the full

enjoyment of the facilities and services of the Website, as well as to the facilities and

services of Defendant’s physical school location by being unable to learn more information

about: school location and hours, curriculum and programs of instruction, academic

calendars, course and admission prerequisites, cost of tuition, available financial aid, career

services, accreditation, faculty, campus security, transfer credits, textbooks, and other vital

information needed by prospective students in order to make an informed decision about

the Defendant’s school.




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       34.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired people that include, but are not limited

to, the following:

               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is

an invisible code embedded beneath a graphical image on a website. Web accessibility

requires that alt-text be coded with each picture so that screen-reading software can speak

the alt-text where a sighted user sees pictures, which includes captcha prompts. Alt-text

does not change the visual presentation, but instead a text box shows when the keyboard

scrolls over the picture. The lack of alt-text on these graphics prevents screen readers from

accurately vocalizing a description of the graphics. As a result, visually-impaired

prospective students of the Defendant are unable to determine what is on the website,

browse, look for: school location and hours, curriculum and programs of instruction,

academic calendars, course and admission prerequisites, cost of tuition, available financial

aid, career services, accreditation, faculty, campus security, transfer credits, textbooks, and

other vital information needed by prospective students in order to make an informed

decision about the Defendant’s school.

               b.      Empty Links That Contain No Text causing the function or purpose

of the link to not be presented to the user. This can introduce confusion for keyboard and

screen-reader users;

               c.      Redundant Links where adjacent links go to the same URL address

which results in additional navigation and repetition for keyboard and screen-reader users;

and




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                 d.      Linked Images Missing Alt-text, which causes problems if an image

within a link contains no text and that image does not provide alt-text. A screen reader then

has no content to present the user as to the function of the link, including information

contained in PDFs.

        35.      The stated principles of NACAC members include “They strive to

eliminate bias within the educational system based on …disability.”1

        36.      By its failure to provide a website that is accessible to the blind or vision

impaired, Defendant, that is a member of NACAC, intentionally violated NACAC’s basic

principles to eliminate bias toward the disabled as well as federal, state and city statutes

and regulations designed to protect those members of society who are in need of protection

by those various laws.

        37.      NACAC maintains a business relationship with the New York Daily News

newspaper which publishes full page advertisements for the NACAC college fairs at Javits

and an onsite guide to the exhibitors which is distributed free of charge to attendees at the

college fairs. Exhibitors, such as the Defendant, may participate in the New York Daily

News advertisements and/or advertise in the onsite guide.

        38.      NACAC exhibitors at Javits also participate in a cooperative lead retrieval

service to aid in their marketing efforts to prospective students in order to increase their

revenue generated by tuition paying students.



                         Defendant Must Remove Barriers To Its Website




1
 https://www.nacacnet.org/globalassets/documents/advocacy-and-ethics/statement-of-principles-of-good-
practice/spgp_10_1_2016_final.pdf last accessed Nov. , 2018.

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       39.     Due to the inaccessibility of Defendant’s Website, blind and visually-

impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally

use or enjoy the facilities and services Defendant offers to the public on its Website. The

access barriers Plaintiff encountered have caused a denial of Plaintiff’s full and equal

access in the past, and now deter Plaintiff on a regular basis from accessing the Website.

       40.     These access barriers on Defendant’s Website have deterred Plaintiff from

visiting Defendant’s school and enjoying the services offered by the Defendant equal to

sighted individuals because: Plaintiff was unable to find information about: school location

and hours, curriculum and programs of instruction, academic calendars, course and

admission prerequisites, cost of tuition, available financial aid, career services,

accreditation, faculty, campus security, transfer credits, textbooks, and other vital

information needed by prospective students in order to make an informed decision about

the Defendant’s school. Plaintiff intends to visit Defendant's school in the near future if he

could access their website.

       41.     If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

       42.     Through his attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually-impaired people.

       43.     Because simple compliance with the WCAG 2.0 Guidelines would provide

Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination or with deliberate

indifference, including, but not limited to, the following policies or practices:



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                         a.     Constructing and maintaining a website that is inaccessible to

       visually-impaired individuals, including Plaintiff;

                         b.     Failure to construct and maintain a website that is sufficiently

       intuitive so as to be equally accessible to visually-impaired individuals, including Plaintiff;

       and,

                         c.     Failing to take actions to correct these access barriers in the face of

       substantial harm and discrimination to blind and visually-impaired consumers, such as

       Plaintiff, as a member of a protected class.

               44.       Defendant therefore uses standards, criteria or methods of administration

       that have the effect of discriminating or perpetuating the discrimination of others, as

       alleged herein.

               45.       The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

       this action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
               facilities to make such facilities readily accessible to and usable by individuals with
               disabilities . . . Where appropriate, injunctive relief shall also include requiring the
               . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

               46.       Because Defendant’s Website has never been equally accessible, and

       because Defendant lacks a corporate policy that is reasonably calculated to cause its

       Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

       seeks a permanent injunction requiring Defendant to retain a qualified consultant

       acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with

       WCAG 2.0 guidelines for Defendant’s Website. The Website must be accessible for

       individuals with disabilities who use computers, laptops, tablets and smart phones. Plaintiff

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seeks that this permanent injunction requires Defendant to cooperate with the Agreed Upon

Consultant to:

                  a.     Train Defendant’s employees and agents who develop the Website

on accessibility compliance under the WCAG 2.0 guidelines;

                  b.     Regularly check the accessibility of the Website under the WCAG

2.0 guidelines;

                  c.     Regularly test user accessibility by blind or vision-impaired persons

to ensure that Defendant’s Website complies under the WCAG 2.0 guidelines; and,

                  d.     Develop an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems and require that any third party vendors who participate on its Website to be fully

accessible to the disabled by conforming with WCAG 2.0 criteria.

       47.        If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired people could independently view service items, locate Defendant’s

school, shop for and otherwise research related services available via the Website such as

curriculum, financial aids, campus tours and other vital information.

       48.        Although Defendant may currently have centralized policies regarding

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by, blind

and other visually-impaired consumers.

       49.        Defendant has, upon information and belief, invested substantial sums in




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developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making their Website

equally accessible to visually impaired customers.

       50.     Without injunctive relief, Plaintiff and other visually-impaired consumers

will continue to be unable to independently use the Website, violating their rights.



                        CLASS ACTION ALLEGATIONS

       51.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the United States who have attempted to access Defendant’s Website and as

a result have been denied access to the equal enjoyment of services offered in Defendant’s

physical locations and on its website, during the relevant statutory period.

       52.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York State subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the State of New York who have attempted to access Defendant’s Website

and as a result have been denied access to the equal enjoyment of services offered in

Defendant’s physical locations and on its website, during the relevant statutory period.

       53.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the City of New York who have attempted to access Defendant’s Website

and as a result have been denied access to the equal enjoyment of services offered in

Defendant’s physical locations and on its website, during the relevant statutory period.

       54.     Common questions of law and fact exist amongst Class, including:



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               a.      Whether Defendant’s Website is a “public accommodation” under

the ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment

of its services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the ADA and the RA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the NYSHRL and the NYCHRL.

       55.     Plaintiff’s claims are typical of the Class. The Class, similarly to the

Plaintiff, are severely visually impaired or otherwise blind, and claim that Defendant has

violated the ADA, RA, NYSHRL and NYCHRL by failing to update or remove access

barriers on its Website so it can be independently accessible to the Class.

       56.     Plaintiff will fairly and adequately represent and protect the interests of the

Class Members because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests

antagonistic to the Class Members. Class certification of the claims is appropriate under

Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

applicable to the Class, making appropriate both declaratory and injunctive relief with

respect to Plaintiff and the Class as a whole.

       57.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class Members predominate over



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       questions affecting only individual Class Members, and because a class action is superior

       to other available methods for the fair and efficient adjudication of this litigation.

              58.       Judicial economy will be served by maintaining this lawsuit as a class action

       in that it is likely to avoid the burden that would be otherwise placed upon the judicial

       system by the filing of numerous similar suits by people with visual disabilities throughout

       the United States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

              59.       Plaintiff, on behalf of himself and the Class Members, repeats and realleges

       every allegation of the preceding paragraphs as if fully set forth herein.

              60.       Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
              enjoyment of the goods, services, facilities, privileges, advantages, or
              accommodations of any place of public accommodation by any person who owns,
              leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).


              61.       Defendant’s school and it’s exhibits at Javits are public accommodations

       within the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website

       is a service, privilege, or advantage of Defendant’s school. The Website is a service that is

       heavily integrated with these locations and is a gateway thereto.

              62.       Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities the opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodations of

       an entity. 42 U.S.C. § 12182(b)(1)(A)(i).




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               63.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities an opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodation,

       which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

               64.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

       also includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
               such modifications are necessary to afford such goods, services, facilities,
               privileges, advantages, or accommodations to individuals with disabilities, unless
               the entity can demonstrate that making such modifications would fundamentally
               alter the nature of such goods, services, facilities, privileges, advantages or
               accommodations; and a failure to take such steps as may be necessary to ensure that
               no individual with a disability is excluded, denied services, segregated or otherwise
               treated differently than other individuals because of the absence of auxiliary aids
               and services, unless the entity can demonstrate that taking such steps would
               fundamentally alter the nature of the good, service, facility, privilege, advantage,
               or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

               65.     The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

       persons under the ADA, has a physical disability that substantially limits the major life

       activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

       Plaintiff has been denied full and equal access to the Website, has not been provided

       services that are provided to other patrons who are not disabled, and has been provided

       services that are inferior to the services provided to non-disabled persons. Defendant has

       failed to take any prompt and equitable steps to remedy its discriminatory conduct. These

       violations are ongoing.



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          66.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff, requests relief as set forth below.

                          SECOND CAUSE OF ACTION
                         VIOLATIONS OF THE NYSHRL

          67.   Plaintiff, on behalf of himself and the New York State Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          68.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent

or employee of any place of public accommodation . . . because of the . . . disability of any

person, directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

          69.   Defendant’s physical exhibit locations are located in the State of New York

and constitutes a public accommodation within the definition of N.Y. Exec. Law § 292(9).

Defendant’s Website is a service, privilege or advantage of Defendant. Defendant’s

Website is a service that is heavily integrated with these physical locations and is a gateway

thereto.

          70.   Defendant is subject to New York Human Rights Law because it owns and

operates its physical locations and Website. Defendant is a person within the meaning of

N.Y. Exec. Law § 292(1).

          71.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated with

Defendant’s physical locations to be completely inaccessible to the blind. This




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inaccessibility denies blind patrons full and equal access to the facilities and services that

Defendant makes available to the non-disabled public.

       72.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or would

result in an undue burden".

       73.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no individual

with a disability is excluded or denied services because of the absence of auxiliary aids and

services, unless such person can demonstrate that taking such steps would fundamentally

alter the nature of the facility, privilege, advantage or accommodation being offered or

would result in an undue burden.”

       74.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have been

followed by other large business entities and government agencies in making their website

accessible, including but not limited to: adding alt-text to graphics and ensuring that all

functions can be performed using a keyboard. Incorporating the basic components to make

its Website accessible would neither fundamentally alter the nature of Defendant’s business

nor result in an undue burden to Defendant.




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       75.     Defendant’s actions constitute willful intentional discrimination against the

State Sub-class on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law §

296(2) in that Defendant has:

               a.     constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.     constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.     failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       76.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       77.     Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and New York State Sub-Class Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its physical locations

under § 296(2) et seq. and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the State

Sub-Class Members will continue to suffer irreparable harm.

       78.     Defendant’s actions were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

       79.     Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.



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          80.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

          81.   Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.

                        THIRD CAUSE OF ACTION
          VIOLATION OF THE NEW YORK STATE CIVIL RIGHTS LAW

          82.   Plaintiff, on behalf of himself and the New York State Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          83.   Plaintiff served notice thereof upon the attorney general as required by N.Y.

Civil Rights Law § 41.

          84.   N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

of this state shall be entitled to the full and equal accommodations, advantages, facilities

and privileges of any places of public accommodations, resort or amusement, subject only

to the conditions and limitations established by law and applicable alike to all persons. No

persons, being the owner, lessee, proprietor, manager, superintendent, agent, or employee

of any such place shall directly or indirectly refuse, withhold from, or deny to any person

any of the accommodations, advantages, facilities and privileges thereof . . .”

          85.   N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined

in section 240.25 of the penal law, in the exercise thereof, by any other person or by any

firm, corporation or institution, or by the state or any agency or subdivision.”

          86.   Defendant’s New York physical locations are public accommodations

within the definition of N.Y. Civil Rights Law § 40-c(2). Defendant’s Website is a service,

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privilege or advantage of Defendant and its Website is a service that is heavily integrated

with these establishments and is a gateway thereto.

       87.     Defendant is subject to New York Civil Rights Law because it owns and

operates its physical locations and Website. Defendant is a person within the meaning of

N.Y. Civil Law § 40-c(2).

       88.     Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

or remove access barriers to its Website, causing its Website and the services integrated

with Defendant’s physical locations to be completely inaccessible to the blind. This

inaccessibility denies blind patrons full and equal access to the facilities, goods and

services that Defendant makes available to the non-disabled public.

       89.     N.Y. Civil Rights Law § 41 states that “any corporation which shall violate

any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and

every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

       90.     Under NY Civil Rights Law § 40-d, “any person who shall violate any of

the provisions of the foregoing section, or subdivision three of section 240.30 or section

240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

shall for each and every violation thereof be liable to a penalty of not less than one hundred

dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby

in any court of competent jurisdiction in the county in which the defendant shall reside ...”

       91.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.




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       92.       Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and New York State Sub-Class Members on the basis of disability are

being directly or indirectly refused, withheld from, or denied the accommodations,

advantages, facilities and privileges thereof in § 40 et seq. and/or its implementing

regulations.

       93.       Plaintiff is entitled to compensatory damages of five hundred dollars per

instance, as well as civil penalties and fines under N.Y. Civil Law § 40 et seq. for each and

every offense.

                    FOURTH CAUSE OF ACTION
        VIOLATIONS OF THE REHABILITATION ACT of 1973, §504

       94.       Plaintiff, on behalf of himself and the Class Members, repeats and realleges

                 every allegation of the preceding paragraphs as if fully set forth herein.

       95.       29 U.S.C. § 794(a) provides “No otherwise qualified individual with a

disability in the United States … shall, solely by reason of her or his disability, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance….”

       96.       29 U.S.C. § 794(b) defines “program or activity” as “all operations

of…(2)(A) a college, university, or other postsecondary institution, or a public system of

education; or (B) a local educational agency…, system of career and technical education,

or other school system.”

       97.       Defendant receives Federal financial assistance.

       98.       Defendant’s operations, including its website, is a program or activity

within the meaning of 29 U.S.C. § 794.

       99.       The acts alleged herein constitute violations of THE REHABILITATION

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ACT of 1973, § 504, and the regulations promulgated thereunder. Plaintiff, who is a

member of a protected class of persons under the RA, has a physical disability that

substantially limits the major life activity of sight within the meaning of 42 U.S.C. §§

12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied full and equal access to the

Website, has not been provided services that are provided to other patrons who are not

disabled, and has been provided services that are inferior to the services provided to non-

disabled persons. Defendant has failed to take any prompt and equitable steps to remedy

its discriminatory conduct. These violations are ongoing.

          100.   Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and the Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of Defendant’s Website and its physical locations under the RA and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage

in these unlawful practices, Plaintiff and the Class Members will continue to suffer

irreparable harm.

          101.   Defendant’s violations of Sec. 504 of the RA were intentional or with

deliberate indifference.

          102.   As a result of Defendant’s violations, Plaintiff is entitled to damages from

the Defendant.

                               FIFTH CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

          103.   Plaintiff, on behalf of himself and the New York City Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

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       104.    N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation, because of . . . disability . . . directly or indirectly, to refuse, withhold

from or deny to such person, any of the accommodations, advantages, facilities or

privileges thereof.”

       105.    Defendant’s locations are public accommodations within the definition of

N.Y.C. Admin. Code § 8-102(9), and its Website is a service that is integrated with its

establishments.

       106.    Defendant is subject to NYCHRL because it owns and operates its physical

locations in the City of New York and its Website, making it a person within the meaning

of N.Y.C. Admin. Code § 8-102(1).

       107.    Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated with its physical locations to be completely inaccessible to the blind.

This inaccessibility denies blind patrons full and equal access to the facilities, goods, and

services that Defendant makes available to the non-disabled public.

       108.    Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).



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       109.    Defendant’s actions constitute willful intentional discrimination against the

City Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code

§ 8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       110.    Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       111.    As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed City Sub-class on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, accommodations and/or opportunities of its Website and its establishments

under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and members

of the City Sub-class will continue to suffer irreparable harm.

       112.    Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       113.    Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as

well as punitive damages pursuant to § 8-502(a).



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        114.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

        115.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.




                                SIXTH CAUSE OF ACTION
                                 DECLARATORY RELIEF

        116.    Plaintiff, on behalf of himself and the Class and New York State and City

Sub-Classes Members, repeats and realleges every allegation of the preceding paragraphs

as if fully set forth herein.

        117.    An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that its Website

contains access barriers denying blind customers the full and equal access to the goods,

services and facilities of its Website and by extension its physical locations, which

Defendant owns, operates and controls and fails to comply with applicable laws including,

but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et

seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq. and The

Rehabilitation Act of 1973, § 504 et seq. prohibiting discrimination against the blind.

        118.    A judicial declaration is necessary and appropriate at this time in order

that each of the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:




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               a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., The

Rehabilitation Act of 1973, 29 U.S.C. § 794 et seq. N.Y. Exec. Law § 296, et seq., N.Y.C.

Admin. Code § 8-107, et seq. and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take

all the steps necessary to make its Website into full compliance with the requirements set

forth in the ADA and the RA, and its implementing regulations, so that the Website is

readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., The Rehabilitation Act of 1973, 29 U.S.C. § 794 et seq., N.Y. Exec. Law §

296, et seq., N.Y.C. Admin. Code § 8-107, et seq. and the laws of New York

               d.      An order certifying the Class and the State and City Sub-Classes

under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class

Representative, and his attorneys as Class Counsel;

               e.      Compensatory and damages in an amount to be determined by

proof, including all applicable statutory and punitive damages and fines, to Plaintiff and

the proposed class for violations of their civil rights under The Rehabilitation Act of 1973,

New York State Human Rights Law and City Law;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and



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               h.      Such other and further relief as this Court deems just and proper.




                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated: New York, New York
       Nov. 15, 2018


                                                            GOTTLIEB & ASSOCIATES


                                                                     s/ Jeffrey M. Gottlieb
                                                                        Jeffrey M. Gottlieb

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